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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

 RICHARD BAUM, Individually and on Behalf X
 of All Others Similarly Situated,        )
                                          )
                       Plaintiff,         )              Civil Action No. ___________
                                          )
         v.                               )              CLASS ACTION COMPLAINT
                                          )              FOR VIOLATIONS OF
 PATTERN ENERGY GROUP INC., ALAN R. )                    SECTIONS 14(a) AND 20(a) OF
 BATKIN, THE LORD BROWNE OF               )              THE SECURITIES EXCHANGE
 MADINGLEY, RICHARD A. GOODMAN,           )              ACT OF 1934
 DOUGLAS G. HALL, PATRICIA M.             )
 NEWSON, MONA K. SUTPHEN, MICHAEL         )              JURY TRIAL DEMAND
 GARLAND, and CANADA PENSION PLAN         )
 INVESTMENT BOARD,                        )
                                          )
                       Defendants.        )
 _______________________________________ X


       Plaintiff Richard Baum (“Plaintiff”), individually and on behalf of all others similarly

situated, alleges the following upon information and belief, including investigation of counsel and

review of publicly-available information, except as to those allegations pertaining to Plaintiff,

which are alleged upon personal knowledge:

                                 NATURE OF THE ACTION

       1.      Plaintiff brings this class action on behalf of the public stockholders of Pattern

Energy Group Inc. (“Pattern” or the “Company”) against Pattern’s Board of Directors (the “Board”

or the “Individual Defendants”) for their violations of Sections 14(a) and 20(a) of the Securities

Exchange Act of 1934, 15.U.S.C. §§ 78n(a), 78t(a), and SEC Rule 14a-9, 17 C.F.R. 240.14a-9,

arising out of the Board’s attempt to merge Pattern into defendant Canada Pension Plan Investment

Board (“CPPIB”) cashing out all of the common stock of Pattern (the “Company Common Stock”)

and delisting Pattern from the NASDAQ (the “Proposed Transaction”).
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       2.      Defendants have violated the above-referenced sections of the Exchange Act by

causing a materially incomplete and misleading preliminary proxy statement (the “Proxy”) to be

filed with the United States Securities and Exchange Commission (“SEC”) on December 13, 2019.

The Proxy recommends that Pattern shareholders vote in favor of the Proposed Transaction. The

Proposed Transaction was first disclosed on November 4, 2019, when Pattern and CPPIB

announced that they had entered into a definitive merger agreement (the “Merger Agreement”)

pursuant to which CPPIB will acquire all of the Company Common Stock for $26.75 per share

(the “Merger Consideration”). 1 The deal is valued at approximately $2.6 billion and is expected

to close in the second quarter of 2020. See Proxy at 1, 33.

       3.      The process leading to the execution of the Merger Agreement was tainted by

allowing holders of shares of Pattern’s preferred stock (“Company Preferred Stock”) to continue

to hold preferred securities in the surviving corporation (and to receive dividends) and at the same

time vote their Company Preferred Stock in favor of cashing out all Company Common Stock.

See Proxy at 35.

       4.      The Proposed Transaction is riddled with conflicts of interest given Pattern’s

relationship with Pattern Energy Group 2 LP (“Pattern Development”) and Riverstone Pattern

Energy Holdings II, L.P. (“Riverstone”). Pattern owns approximately 29% of the equity interests

of Pattern Development and the remaining equity interests of Pattern Development are owned by

Riverstone and members of Pattern management. See Proxy at 36. Additionally, Pattern is




1
  On August 12, 2019, an article was published indicating that Pattern engaged in discussions
relating to a potential strategic transaction including a possible sale of Pattern. See Proxy at 44.
                                                   2
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contractually restricted from transferring its interest in Pattern Development without its consent.

Id.

         5.    In fact, Pattern Development and Riverstone were included in the negotiations with

bidders, including CPPIB, and negotiated their own transactions with bidders. As part of the

Proposed Transaction, CPPIB and Riverstone have concurrently entered into an agreement to

combine Pattern Development. 2

         6.    The Board has also voted in favor of a proposal for lucrative compensation to

Pattern’s executive officers.    See Proxy at 131. Additionally, the Board voted in favor of a

proposal allowing it to adjourn the shareholder vote on the Proposed Transaction if it looks like it

will need to solicit additional votes. Id.

         7.    Furthermore, the Proxy is materially incomplete and contains misleading

representations and information in violation of Sections 14(a) and 20(a) of the Exchange Act.

Specifically, the Proxy contains materially incomplete and misleading information concerning the

sales process, financial projections prepared by Pattern management, and the financial analyses

conducted by Pattern’s financial advisors, Evercore Group L.L.C. (“Evercore”) and Goldman,

Sachs & Co. LLC (“Goldman Sachs”). Goldman Sachs was retained by the special committee of

the Board (the “Special Committee”) during the bidding process. See Proxy at 40.

         8.    For these reasons, and as set forth in detail herein, Plaintiff seeks to enjoin

defendants from taking any steps to consummate the Proposed Transaction, including filing a

definitive proxy statement (“Definitive Proxy”) with the SEC or otherwise causing a Definitive



2
   https://www.prnewswire.com/news-releases/pattern-energy-enters-agreement-to-be-acquired-
by-canada-pension-plan-investment-board-300950682.html.
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Proxy to be disseminated to Pattern’s shareholders, unless and until the material information

discussed below is included in the Definitive Proxy or otherwise disseminated to Pattern’s

shareholders.   In the event the Proposed Transaction is consummated without the material

omissions referenced below being remedied, Plaintiff seeks to recover damages resulting from

defendants’ violations.

                                             PARTIES

       9.       Plaintiff is, and has been at all relevant times, the owner of shares of common stock

of Pattern.

       10.      Defendant Pattern is a corporation organized and existing under the laws of the

State of Delaware. The Company’s principal executive offices are located at 1088 Sansome Street,

San Francisco, CA 94111. Pattern common stock trades on the NASDAQ Global Select exchange

under the ticker symbol “PEGI.”

       11.      Defendant Alan R. Batkin (“Batkin”) is the Chair of the Board and Chairperson of

the Special Committee. See Proxy at 37-38.

       12.      Defendant The Lord Browne of Madingley (“Browne”) is a director on the Board.

       13.      Defendant Richard A. Goodman (“Goodman”) is a director on the Board as of

December 30, 2018 and member of the Special Committee as of February 22, 2019. Id.

       14.      Defendant Douglas G. Hall (“Hall”) is a director on the Board and member of the

Special Committee as of February 22, 2019. Id.

       15.      Defendant Patricia M. Newson (“Newson”) is a director on the Board and member

of the Special Committee. Id.




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        16.     Defendant Mona K. Sutphen (“Sutphen”) is a director on the Board as of December

30, 2018. Id.

        17.     Defendant Michael Garland (“Garland”) is President, Chief Executive Officer, and

a director of the Company.

        18.     Defendants Batkin, Browne, Goodman, Hall, Newson, Sutphen, and Garland are

collectively referred to herein as the “Board” or the “Individual Defendants.” Four (4) of the seven

(7) current Board members served on the Special Committee.

        19.     Defendant CPPIB is a Canadian investment management organization

headquartered in Toronto that invests the assets of the Canada Pension Plan.

                                  JURISDICTION AND VENUE

        20.     This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Section 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9.

        21.     Personal jurisdiction exists over each defendant either because the defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over defendant by this Court permissible under

traditional notions of fair play and substantial justice.

        22.     Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because: (i) a significant amount of the conduct at issue

took place and had an effect in this District; and (ii) Pattern is incorporated in this District.




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                                CLASS ACTION ALLEGATIONS

      23.        Plaintiff brings this action on his own behalf and as a class action on behalf of all

owners of Pattern common stock and their successors in interest and/or their transferees, except

defendants and any person, firm, trust, corporation or other entity related to or affiliated with the

defendants (the “Class”).

       24.       This action is properly maintainable as a class action for the following reasons:

                 (a)    The Class is so numerous that joinder of all members is impracticable. As

of December 5, 2019, there were 98,240,118 shares of Class A common stock issued and

outstanding. See Proxy at 1.

                 (b)    Questions of law and fact are common to the Class, including, inter alia,

the following:

                        (i)     Whether defendants have violated Section 14(a) of the Exchange

                                Act and Rule 14a-9 promulgated thereunder;

                        (ii)    Whether the Individual Defendants have violated Section 20(a) of

                                the Exchange Act;

                        (iii)   Whether Plaintiff and other members of the Class would suffer

                                irreparable injury were defendants to file a Definitive Proxy with the

                                SEC that does not contain the material information referenced above

                                and the Proposed Transaction is consummated as presently

                                anticipated;




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                        (iv)    Whether Plaintiff and the other members of the Class would be

                                irreparably harmed were the transaction complained of herein

                                consummated; and

                        (v)     Whether the Class is entitled to injunctive relief or damages as a

                                result of Individual Defendants’ wrongful conduct.

                (c)     Plaintiff is committed to prosecuting this action, is an adequate

representative of the Class, and has retained competent counsel experienced in litigation of this

nature.

                (d)     Plaintiff’s claims are typical of those of the other members of the Class.

                (e)     Plaintiff has no interests that are adverse to the Class.

                (f)     The prosecution of separate actions by individual members of the Class

would create the risk of inconsistent or varying adjudications for individual members of the Class

and of establishing incompatible standards of conduct for the party opposing the Class.

                (g)     Conflicting adjudications for individual members of the Class might as a

practical matter be dispositive of the interests of the other members not parties to the adjudications

or substantially impair or impede their ability to protect their interests.

                (h)     Plaintiff anticipates that there will be no difficulty in the management of

this litigation. A class action is superior to other available methods for the fair and efficient

adjudication of this controversy.

                                SUBSTANTIVE ALLEGATIONS

    A. Background of the Company and the Proposed Transaction

          25.   Pattern was incorporated in October 2012 and completed its initial public offering


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(“IPO”) in October 2013, with simultaneous listings on NASDAQ and the Toronto Stock

Exchange. The Company used the proceeds of its IPO to acquire operating assets from its sibling

company, Pattern Development.

       26.    On November 4, 2019, the Board approved Pattern’s entry into the Merger

Agreement with CPPIB.

       27.    According to the press release issued on November 4, 2019 announcing the

Proposed Transaction:

       Pattern Energy Enters Agreement to be Acquired by Canada Pension Plan
       Investment Board

       November 4, 2019

       Pattern Energy Shareholders to Receive $26.75 per Share in Cash; Transaction
       Enterprise Value of Approximately $6.1 Billion

       Canada Pension Plan Investment Board and Riverstone Holdings to Combine
       Pattern Energy and Pattern Development into an Integrated Renewable Energy
       Company

       Transaction Expected to Close by the Second Quarter of 2020

       SAN FRANCISCO and TORONTO and NEW YORK, Nov. 4, 2019
       /PRNewswire/ -- Pattern Energy Group Inc. (Nasdaq and TSX: PEGI) ("Pattern
       Energy" or "the Company") and Canada Pension Plan Investment Board ("CPPIB")
       today announced they have entered into a definitive agreement, pursuant to which
       CPPIB will acquire Pattern Energy in an all-cash transaction for $26.75 per share,
       implying an enterprise value of approximately $6.1 billion, including net debt.

       CPPIB and Riverstone Holdings LLC ("Riverstone") have concurrently entered
       into an agreement pursuant to which, at or following the completion of the proposed
       acquisition of Pattern Energy by CPPIB, CPPIB and Riverstone will combine
       Pattern Energy and Pattern Energy Group Holdings 2 LP ("Pattern Development")
       under common ownership, bringing together the operating assets of Pattern Energy
       with the world class development projects and capabilities of Pattern Development.

       Under the terms of the merger agreement, Pattern Energy shareholders will receive
       $26.75 in cash consideration for each share of Pattern Energy, representing a
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   premium of approximately 14.8% to Pattern Energy's closing share price on August
   9, 2019, the last trading day prior to market rumors regarding a potential acquisition
   of the Company. The consideration also represents a 15.1% premium to the 30-day
   volume weighted average price prior to that date.

   The Pattern Energy management team, led by Mike Garland, will lead the
   combined enterprise.

   "This agreement with CPPIB and Riverstone provides certain and significant value
   for Pattern Energy shareholders with an all cash transaction at a very attractive
   stock price," said Mike Garland, CEO of Pattern Energy. "Over the years, Pattern
   Energy has been able to provide shareholders with a consistent dividend and now
   our shareholders can realize the value embedded in the Company. We believe the
   proposed transaction reflects the strength of the platform we have built."

   "In reaching this transaction, the Pattern Energy Board of Directors undertook a
   robust process that we believe culminated in a transaction that delivers value to
   shareholders," said Alan Batkin, Chairman of the Pattern Energy Board of
   Directors. "As part of this process, the Board formed a special committee,
   composed of independent directors that directed the process at all times, and
   retained independent legal and financial advisors to assist our review of the
   transaction and provide a fairness opinion. The special committee reviewed
   multiple bids as part of a thorough process that involved multiple parties and
   evaluated the transaction against the Company's standalone prospects, performance
   and outlook relative to historic trading multiples and yields. Based on this review
   and in light of the transaction structure, the special committee unanimously
   determined that this transaction is in the best interest of the Company's shareholders
   and recommended it to the full Pattern Energy Board, which also determined that
   this transaction is advisable and in the best interests of the Company's shareholders.
   The transaction delivers significant, immediate and certain value to the Company's
   shareholders."

   "Pattern Energy is one of the most experienced renewables developers in North
   America and Japan with a high-quality, diversified portfolio of contracted operating
   assets, aligning well with CPPIB's renewable energy investment strategy and the
   increasing global demand for low-carbon energy," said Bruce Hogg, Managing
   Director, Head of Power and Renewables, CPPIB. "The Pattern Energy
   management team has a proven track record of identifying and executing
   development strategies with differentiated competitive advantages. We look
   forward to working with Pattern Energy and Riverstone to grow the company."

   "We have long been believers in Pattern Energy and have had a successful
   partnership with the Company since we first invested in it more than 10 years ago,"
   said Chris Hunt and Alfredo Marti, Partners at Riverstone. "We have worked
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    closely with Mike and the Pattern Energy team to grow the Company from a
    development startup into a multinational operator and supplier of low cost,
    renewably sourced energy. We are confident the team will continue to develop
    world-class wind and solar assets, which will be an important part of our transition
    to cleaner forms of power generation. We look forward to continuing to support
    them in driving the Company's next phase of development."

    Transaction Details

    The transaction is expected to close by the second quarter of 2020, subject to Pattern
    Energy shareholder approval, receipt of the required regulatory approvals, and
    other customary closing conditions.

    The Pattern Energy transaction is not contingent upon the completion of the Pattern
    Development transaction. Upon the completion of the transaction, Pattern Energy
    will become a privately held company and shares of Pattern Energy's common stock
    will no longer be listed on any public market. Pattern Energy will continue paying
    its quarterly dividend through the transaction close.

    Advisors

    Evercore and Goldman, Sachs & Co. LLC are acting as independent financial
    advisors to Pattern Energy's special committee, and Paul, Weiss, Rifkind, Wharton
    & Garrison LLP is serving as independent legal counsel to the special committee.

    About Pattern Energy

    Pattern Energy Group Inc. (Pattern Energy) is an independent power company
    listed on the Nasdaq Global Select Market and Toronto Stock Exchange. Pattern
    Energy has a portfolio of 28 renewable energy projects with an operating capacity
    of 4.4 GW in the United States, Canada and Japan that use proven, best-in-class
    technology. Pattern Energy's wind and solar power facilities generate stable long-
    term cash flows in attractive markets and provide a solid foundation for the
    continued growth of the business. For more information, visit
    www.patternenergy.com.

    About Pattern Development

    Pattern Development is a leader in developing renewable energy and transmission
    assets. With a long history in wind energy, Pattern Development has developed,
    financed and placed into operation more than 4,000 MW of wind and solar power
    projects. A strong commitment to promoting environmental stewardship drives the
    company's dedication in working closely with communities to create renewable
    energy projects. Pattern Development has offices in San Francisco, San Diego,
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         Houston, New York, Toronto, Mexico City, and Tokyo. For more information, visit
         www.patterndev.com.

         About CPPIB

         Canada Pension Plan Investment Board (CPPIB) is a professional investment
         management organization that invests the funds not needed by the Canada Pension
         Plan (CPP) to pay current benefits in the best interests of 20 million contributors
         and beneficiaries. In order to build diversified portfolios of assets, CPPIB invests
         in public equities, private equities, real estate, infrastructure and fixed income
         instruments. Headquartered in Toronto, with offices in Hong Kong, London,
         Luxembourg, Mumbai, New York City, San Francisco, São Paulo and Sydney,
         CPPIB is governed and managed independently of the Canada Pension Plan and at
         arm's length from governments. At June 30, 2019, the CPP Fund totaled C$400.6
         billion. For more information about CPPIB, please visit www.cppib.com or follow
         us on LinkedIn, Facebook or Twitter.

         About Riverstone Holdings

         Riverstone is an energy and power-focused private investment firm founded in
         2000 by David M. Leuschen and Pierre F. Lapeyre, Jr. with over $39 billion of
         equity capital raised to date. Riverstone conducts buyout and growth capital
         investments in the exploration & production, midstream, oilfield services, power
         and renewable sectors of the energy industry. With offices in New York, London,
         Houston and Mexico City, the firm has committed approximately $40 billion to
         more than 180 investments in North America, South America, Europe, Africa, Asia,
         and Australia. 3

      B. The Proposed Transaction is the Product of a Conflicted Process

         28.     On June 5, 2018, the Board held its annual strategy session and appointed the

Special Committee. The Board conceded that Pattern’s contractual relationships with Pattern

Development and Riverstone, as well as “certain members of its senior management,” created

“potential conflicts of interest.” See Proxy at 36.

         29.     On July 13, 2018, the Special Committee agreed to engage Evercore as a financial

advisor. Id. at 37.


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    https://investors.patternenergy.com/node/12251/pdf.
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        30.    On August 6, 2018, one of Pattern’s directors on the Board, Michael Hoffman

(“Hoffman”), inexplicably resigned. Id.

        31.    On October 29, 2018, Pattern received interest from two potential bidders – Party

A – a large alternative asset manager, and Party B – a large private equity investment firm that

also owns a company in the alternative energy business. Id.

        32.    Shortly thereafter, in November 2018, the Special Committee authorized Garland

– Pattern’s Chief Executive Officer – and other members of Pattern management to reach out to

representatives of Party A and Party B – before any confidentiality or exclusivity was agreed to.

Id. at 38.

        33.    On December 28, 2018, Pattern lost another Board member – Patricia S. Bellinger

(“Belliger”), who resigned from her position on the Board (and on the Special Committee). On

December 30, 2018, Goodman and Sutphen were appointed to the Board to take the places of

Hoffman and Bellinger. Id.

        34.    On January 16, 2019, Pattern received interest from Company C – a company

operating in the alternative energy industry. Id. Approximately a month later, Pattern determined

that it was unlikely that Pattern and Company C enter into any transaction. Id. at 39.

        35.    On January 25, 2019, Pattern management presented a presentation that it prepared

that summarized a “strawman proposal developed by Pattern management, which involved a stock

for stock combination of Pattern and Company A at an at-market exchange ratio.” Id. (emphasis

added) (the “Strawman Proposal”). Neither the Board nor the Special Committee disclosed this

Strawman Proposal to the shareholders of Pattern. Id. at 38.




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       36.     On February 15, 2019, Party A proposed an at-market all-stock merger of Pattern

and Company A. Id.

       37.     On February 21, 2019, representatives of Party A sent Pattern a preliminary non-

binding term sheet outlining proposed terms for a potential transaction involving the acquisition

by Company A of the outstanding shares of Company Common Stock in exchange for shares of

Company A common stock at an at-market exchange ratio. Pattern also received interest from

Company D – “an entity controlled by a former member of our Board who later partnered with a

private equity investment firm.” Id. at 39 (emphasis added).

       38.     On February 22, 2019, the Board appointed defendants Goodman and Sutphen to

serve as members of the Special Committee. Id.

       39.     On March 11, 2019, representatives of Pattern sent a revised indicative term sheet

to Party A, reflecting a number of revised terms, including a proposal to structure the proposed

transaction as an acquisition of Company A by Pattern at an exchange ratio to reflect an implied

15.0% premium to the trading price of Company Common Stock. Id. The parties engaged in due

diligence in March and April 2019. Id. at 40.

       40.     In early April 2019, the members of the Special Committee determined to continue

to engage Goldman Sachs as a second financial advisor to evaluate proposals with respect to a

potential transaction along with Evercore. Id. No rationale for expending funds on a second

advisor has been provided to the common shareholders.

       41.     On April 11, 2019, Party A, Pattern and an affiliate of Riverstone entered into a

three-party side letter to the confidentiality agreement previously entered into between Party A

and Pattern. Id. Just like that, Riverstone began taking part in the bidding process thereby, upon

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information and belief, tainting such process.

       42.     On April 15, 2019, CPPIB expressed interest in potentially acquiring Pattern. Id.

       43.     On April 16, 2019, Pattern management met with representatives of Party A and

two representatives of Riverstone – who are directors of Pattern Development – to discuss how

Pattern Development would be affected by a transaction. Upon information and belief, this

meeting further tainted negotiations with Company A. The Proxy confirms that “Party A indicated

that it would be potentially interested in having the company that survived a combination of Pattern

and Company A directly acquire Pattern Development.”

       44.     On May 16, 2019, defendant Batkin sent a memorandum to members of the Special

Committee regarding CPPIB’s expression of interest in a potential transaction involving CPPIB,

Pattern and Pattern Development. Id. at 40 (the “May 16th Batkin Memorandum”). The May 16th

Batkin Memorandum has not been disclosed to Pattern’s common shareholders. Upon information

and belief, from the outset, preference was shown to CPPIB – Pattern’s affiliate.

       45.     Batkin solicited consent from the Special Committee to negotiate a confidentiality

agreement between Pattern and CPPIB for CPPIB to receive information regarding Pattern

Development. Upon information and belief, Pattern Development and Riverstone were now

irreversibly interwound in the discussions of any “strategic” alternatives for Pattern.         The

confidentiality agreement was signed on May 28, 2019. Id. at 41.

       46.     On June 14, 2019, Party D contacted defendant Batkin to indicate its interest in

making an offer to acquire Pattern. Id. at 42

       47.     On June 27, 2019, the Special Committee approved the request for Pattern

management to contact CPPIB and Party A to solicit written proposals regarding a potential

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transaction with Pattern. Id.

       48.     As of July 2019, the parties made the following bids to Pattern:

  Company A •  All-stock transaction at an exchange ratio to reflect an implied 15.0% premium
               to the trading price of Company Common Stock.
            • Combined entity would purchase Pattern Development in a transaction financed
               by the sale to Party A of shares in the combined company.
            • Party A is willing to acquire Pattern without also acquiring Pattern Development
               at an exchange ratio to reflect an implied 20.0% premium to the trading price of
               Company Common Stock.
            • For either transaction, Party A would be willing to offer the holders of Company
               Common Stock up to $750 million of cash consideration to electing holders in
               lieu of shares in the combined company. See Proxy at 43-44.
  Company D • Non-binding offer to acquire the outstanding shares of Company Common
                 Stock for $25.00 per share in cash.
            • Proposal conditioned on Party D’s completion of a due diligence review of the
                 business and operations of each of Pattern and Pattern Development. See Proxy
                 at 42-43
  CPPIB      • Non-binding proposal to purchase the outstanding shares of Company Common
                Stock for $25.50 per share in cash, subject to completion of due diligence.
             • Proposal subject to an agreement being reached with respect to the acquisition
                of Pattern Development. See Proxy at 42

       49.     On August 13, 2019, as requested by regulators in Canada, Pattern issued a press

release in which it indicated that it had responded to inquiries from third parties. Following the

publication, Pattern received indications of interest from six (6) other new inbound buyers. See

Proxy at 44. Upon information and belief, the Special Committee did not seriously pursue these

new buyers.

       50.     On August 16, 2019, representatives of the Special Committee received a revised

non-binding letter proposal from CPPIB that included an offer to acquire the outstanding shares

of Company Common Stock for between $26.25 and $26.50 in cash per share and to purchase the

equity interests in Pattern Development not owned by Pattern from Riverstone. See Proxy at 45.



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       51.      On August 19, 2019, the Special Committee authorized Pattern management to

begin discussions of arrangements relating to their compensation and post-transaction roles with

CPPIB – but not the other bidders. Id. On August 21, 2019, there were high-level discussions

with CPPIB regarding arrangements relating to compensation and post-transaction roles for Pattern

management. See Proxy at 46.

       52.      As of September, Pattern received the following revised bids.

 Party A                • Price implying 15.0% premium to the trading price of Company
                        Common Stock.
                        • Commence negotiations among Pattern, Party A, Riverstone and
                        Pattern Development if it was granted exclusivity by each of Pattern
                        Development and Pattern.
                        • Agreed to discuss proposed amendments imposed by Riverside to the
                        terms of the agreements governing the commercial relationship between
                        Pattern and Pattern Development. Proxy at 48-49
 Party B                • Price in the middle of $25.00 per share to $28.00 per share range.
 (Competitor)           • Require additional information to complete its due diligence review of
                        Pattern and Pattern Development. Proxy at 49
 Party D                • Price of $26.75 per share in cash.
                        • Party D would acquire Pattern and Pattern Development.
                        • 30-day period of exclusivity to negotiate definitive documentation.
                        • Acquisition of Pattern cross-conditioned with the closing of a
                        transaction with Pattern Development.
                        • Pattern be restricted from paying dividends to holders of Company
                        Common Stock between signing and closing. Proxy at 49-50
 CPPIB                  • $26.25 to $26.50 price range
                        • Reverse termination fee equal to 4.5% of Pattern’s equity.
                        • Pattern to reimburse CPPIB for certain expenses in the event that the
                        agreement was terminated under certain conditions.
                        • 35 day go-shop period subject to carve-outs. Proxy at 47, 49.

       53.      Despite the fact that the other bidders offered higher bids, upon information and

belief, Pattern showed CPPIB preference and advanced negotiations. Negotiations with Party A

were impeded by Riverstone, and Pattern was reluctant to provide due diligence to Party B who

was a competitor. With respect to Party D, it appears that Pattern was reluctant to stop paying
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dividends during negotiations.

       54.     On October 3, 2019, Party A informed Batkin that Party A would not be willing to

devote time and resources to discussions with Riverstone unless granted exclusivity. Batkin

declined. See Proxy at 51.

       55.     On October 17, 2019, the Special Committee instructed representatives of Party A,

CPPIB and Party D to submit proposed definitive documentation by October 23, 2019 and “best

and final” offers by October 28, 2019. Party B was not willing to do so without the necessary due

diligence that Pattern refused to provide. Id.

       56.     Party D declined to provide a definitive bid because Pattern had not agreed to

provisions (a) restricting Pattern’s right to declare and pay dividends to holders of Company

Common Stock between signing and closing, (b) providing that closing of the transactions between

Pattern and Party D would be cross-conditioned on the closing of a transaction involving Pattern

Development, and (c) providing a 15 day go-shop period. Id.

       57.     On October 28, 2019, CPPIB raised its price to $26.75 (same as Party D but still

potentially less than Party A and Party B). CPPIB demanded that Pattern cease engaging in

discussions with Party A and Party D during the go-shop period and proposed a CPPIB termination

fee equal to 5.5% of Pattern’s implied equity value. See Proxy at 51-52.

       58.     On October 30, 2019, Party A submitted a revised draft Party A merger agreement,

which included a condition that Party A be permitted to engage in discussions with Riverstone

prior to executing the draft Party A merger agreement and conditioned closing of the transactions

contemplated by the draft Party A merger agreement on Riverstone’s consent to certain

amendments to Pattern Development’s existing contractual relationships with Pattern. Id. at 52.

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       59.     On November 1, 2019, Party A requested thirty (30) days to negotiate with Pattern

Development and Riverstone. Pattern gave Party A one (1) day – until November 2 at 5:00 p.m.

Eastern Time. Id. at 52. Unsurprisingly, Party A declined.

       60.     On November 2, 2019, Pattern requested that CPPIB increase its bid by $0.25 per

share and CPPIB declined. See Proxy at 53.

       61.     On November 3, 2019, after having reviewed the interest of Pattern management

in connection with the proposed Merger and the proposed transaction involving CPPIB and

Pattern Development, the Special Committee recommended that the Board approve the Merger

Agreement. Id. The Board approved with Garland abstaining. Id.

   C. Pattern’s Officers Stand to Receive Benefits Unavailable to the Class

       62.     The Proxy concedes that Pattern’s directors and executive officers have interests in

the merger that are more beneficial than the interests of the Company’s stockholders generally,

due to their ownership (and treatment upon change of control) of (a) Company options, (b)

restricted shares, (c) performance shares, restricted stock units (“RSUs”), and (d) equity awards.

Proxy at 69-71.

       63.     Additionally, Pattern’s executive officers entered into amended employment

agreements approved by CPPIB, which provide for – among other benefits – annual equity awards

and benefits. Id. at 71-73.

       64.     Furthermore, pursuant to the Form 8-K filed on November 4, 2019, Pattern’s

executive officers and affiliates entered into a “Contribution Agreement,” which likewise provides

for unique benefits to such officers.




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       65.   The charts below from the Proxy summarizes the extraordinary benefits to these

insiders:




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See Proxy at 76-78.

   D. The Preclusive Deal Protection Devices

       66.     Among other things, Pattern will be required to pay a termination fee of up to $79.0

million if the Merger Agreement is terminated under specified circumstances. Id. at 103.

   E. The Materially Incomplete and Misleading Proxy

       67.     The Proxy is misleading and omits the following information to enable the

Company’s shareholders to make a reasoned decision on how to vote.

1) Materially Misleading Statements/Omissions Regarding the Management-Prepared
   Financial Forecasts

       68.     The Proxy omits crucial information regarding Pattern’s financial forecasts (the

“Forecasts”), including:

   •   The definition of “Project Distributions” as used in the Forecasts
   •   Separate projection line items for each year of the Forecasts, as available for use by
       Evercore for purposes of its analyses, including:
          o Pattern Development distributions (for years 2019, 2024-2027)
          o Revenues by type, including:
                   Electricity sales
                   Other revenue
          o Cost of revenue by type, including:
                   Project expense
                   Transmission costs
                   Depreciation, amortization and accretion
          o Operating expense, by type, including:
                   General and administrative
                   Development expenses
                   Related party general and administrative
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   •   Taxes on Project Distributions
   •   Corporate general and administrative costs (if different from general and administrative
       expenses)
   •   Corporate interest expense
   •   Acquisition expense
   •   Proceeds and investments in Gulf Repower project
   •   Debt repayments
   •   Asset divestiture proceeds
   •   New debt issuance
   •   Refinancing proceeds
   •   Changes in revolver issuances and paydown

2) Materially Incomplete and Misleading Disclosures Concerning Financial Analyses

       69.    The Proxy is deficient in terms of Evercore’s financial analyses and fails to disclose

the following information:

Selected Public Company Trading Analysis (Proxy at 61-64)

   •   Individually observed multiples for each of the selected companies, including:
           a. 2020E CAFD
           b. 2020E Dividend Yield
           c. 2020 Adjusted EBITDA
   •   Individual inputs and assumptions utilized by Evercore to derive the discount rate range
       of 12.5% - 17.5% for the Pattern Development distributions
   •   The benchmarking analyses, if any, did Evercore perform for Pattern relative to the
       selected companies
   •   The specific amounts of “total proportionate debt” and cash and cash equivalents used by
       Evercore in this analysis

Selected Transactions Analysis (Proxy at 64-65)

   •   The individually observed multiples for each of the selected transactions, including:
           a. CAFD Multiple
           b. Adjusted EBITDA Multiple
   •   Benchmarking analyses, if any, that Evercore performed for Pattern relative to the
       selected companies
   •   Specific amounts of “total proportionate debt” and cash and cash equivalents used by
       Evercore in this analysis

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   •      The individual inputs and assumptions utilized by Evercore to derive the discount rate
          range of 12.5% - 17.5% for the Pattern Development distributions

Discounted Cash Flow Analysis (Proxy at 65-66)

   •      How stock-based compensation expense was treated -- as a cash or non-cash expense for
          purposes of this analysis
   •      Individual inputs and assumptions utilized by Evercore to derive the discount rate range
          of 12.5% - 17.5%
   •      The range of implied perpetuity growth rates resulting from the CAFD Multiple terminal
          value analysis
   •      The range of implied CAFD multiples resulting from the perpetuity growth terminal
          value analysis
   •      The actual 2024 CAFD amount to which the Evercore selected terminal CAFD multiples
          were applied
   •      The actual terminal year estimate of the standalone, levered, after-tax free cash flow to
          equity, to which the Evercore selected perpetuity growth rates were applied
   •      The individual inputs and assumptions utilized by Evercore to derive the discount rate
          range of 12.5% - 17.5% for the Pattern Development distributions
   •      The individual inputs and assumptions utilized by Evercore to derive the discount rate
          range of 7.5% - 9.5% for Pattern’s cost of equity

                                      CLAIMS FOR RELIEF

                                              COUNT I

          On Behalf of Plaintiff and the Class Against All Defendants for Violations of
                       Section 14(a) of the Exchange Act and Rule 14a-9

          70.    Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          71.    Defendants have filed the Proxy with the SEC with the intention of soliciting

Pattern shareholder support for the Proposed Transaction. Each of the Individual Defendants

reviewed and authorized the dissemination of the Proxy, which fails to provide the material

information referenced above.


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         72.   In so doing, defendants made materially incomplete and misleading statements

and/or omitted material information necessary to make the statements made not misleading. Each

of the Individual Defendants, by virtue of their roles as officers and/or directors of Pattern, were

aware of the omitted information but failed to disclose such information, in violation of Section

14(a).

         73.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that such communications with shareholders shall not contain “any statement which,

at the time and in the light of the circumstances under which it is made, is false or misleading with

respect to any material fact, or which omits to state any material fact necessary in order to make

the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.

         74.   Specifically, and as detailed above, the Proxy violates Section 14(a) and Rule 14a-

9 because it omits material facts concerning: (i) management’s financial projections; (ii) the value

of Pattern shares and the financial analyses performed by the financial advisors in support of its

fairness opinion; and (iii) the sales process.

         75.   Moreover, in the exercise of reasonable care, the Individual Defendants knew or

should have known that the Proxy is materially misleading and omits material information that is

necessary to render it not misleading. The Individual Defendants undoubtedly reviewed and relied

upon the omitted information identified above in connection with their decision to approve and

recommend the Proposed Transaction; indeed, the Proxy states that the financial advisors reviewed

and discussed its financial analyses with the Board during various meetings, and further states that

the Board relied upon the financial advisors’ financial analyses and fairness opinion in connection

with approving the Proposed Transaction. The Individual Defendants knew or should have known

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that the material information identified above has been omitted from the Proxy, rendering the

sections of the Proxy identified above to be materially incomplete and misleading.

          76.   The misrepresentations and omissions in the Proxy are material to Plaintiff and the

Class, who will be deprived of their right to cast an informed vote if such misrepresentations and

omissions are not corrected prior to the vote on the Proposed Transaction. Plaintiff and the Class

have no adequate remedy at law. Only through the exercise of this Court’s equitable powers can

Plaintiff and the Class be fully protected from the immediate and irreparable injury that

defendants’ actions threaten to inflict.

                                             COUNT II

  On Behalf of Plaintiff and the Class against the Individual Defendants for Violations of
                             Section 20(a) of the Exchange Act

          77.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          78.   The Individual Defendants acted as controlling persons of Pattern within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Pattern and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Proxy filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements that Plaintiff contends are materially incomplete and

misleading.

          79.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy and other statements alleged by Plaintiff to be misleading prior to the time the
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Proxy was filed with the SEC and had the ability to prevent the issuance of the statements or cause

the statements to be corrected.

       80.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The omitted information identified above was

reviewed by the Board prior to voting on the Proposed Transaction. The Proxy at issue contains

the unanimous recommendation of each of the Individual Defendants to approve the Proposed

Transaction. They were, thus, directly involved in the making of the Proxy.

       81.     In addition, as the Proxy sets forth at length, and as described herein, the Individual

Defendants were involved in negotiating, reviewing, and approving the Merger Agreement. The

Proxy purports to describe the various issues and information that the Individual Defendants

reviewed and considered. The Individual Defendants participated in drafting and/or gave their

input on the content of those descriptions.

       82.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       83.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9, by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff and the Class will be irreparably harmed.




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                                      RELIEF REQUESTED

          WHEREFORE, Plaintiff demands injunctive relief in his favor and in favor of the Class

and against the defendants jointly and severally, as follows:

          A.     Declaring that this action is properly maintainable as a class action and certifying

Plaintiff as class representative and his counsel as class counsel;

          B.     Preliminarily and permanently enjoining defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from filing a Definitive Proxy

with the SEC or otherwise disseminating a Definitive Proxy to Pattern shareholders unless and

until defendants agree to include the material information identified above in the Definitive Proxy;

          C.     Preliminarily and permanently enjoining defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from proceeding with,

consummating, or closing the Proposed Transaction, unless and until defendants disclose the

material information identified above which has been omitted from the Proxy;

          D.     In the event that the transaction is consummated prior to the entry of this Court’s

final judgment, rescinding it or awarding Plaintiff and the Class rescissory damages;

          E.     Directing defendants to account to Plaintiff and the Class for all damages suffered

as a result of their wrongdoing;

          F.     Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

          G.     Granting such other and further equitable relief as this Court may deem just and

proper.




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                                       JURY DEMAND

      Plaintiff demands a trial by jury.

Dated: December 27, 2019                        RIGRODSKY & LONG, P.A.

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